Case: 3:20-cv-00616-wmc Document #: 6-1 Filed: 09/11/20 Page 1 of 5




                   UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF WISCONSIN



      STATEMENT MADE PURSUANT TO 28 U.S.C. SECTION 1746


1.    My name is Deborah Laufer. I am currently a resident of Pasco County, Florida. I

      am unable to engage in the major life activity of walking more than a few steps

      without assistive devices. Instead, I am bound to ambulate in a wheelchair or with

      a cane or other support and have limited use of my hands. I am unable to tightly

      grasp, pinch and twist of the wrist to operate. I am also vision impaired. When

      ambulating beyond the comfort of my own home, I must primarily rely on a

      wheelchair. I require accessible handicap parking spaces located closest to the

      entrances of a facility. The handicap and access aisles must be of sufficient width

      so that I can embark and disembark into a vehicle. Routes connecting the

      handicap spaces and all features, goods and services of a facility must be level,

      properly sloped, sufficiently wide and without cracks, holes or other hazards that

      can pose a danger of tipping, catching wheels or falling. These areas must be free

      of obstructions or unsecured carpeting that make passage either more difficult or

      impossible. Amenities must be sufficiently lowered so that I can reach them. I

      have difficulty operating door knobs, sink faucets, or other operating mechanisms

      that tight grasping, twisting of the wrist or pinching. I am hesitant to use sinks that

      have unwrapped pipes, as such pose a danger of scraping or burning my legs.

      Sinks must be at the proper height so that I can put my legs underneath to wash


                                         1
Case: 3:20-cv-00616-wmc Document #: 6-1 Filed: 09/11/20 Page 2 of 5




      my hands. I require grab bars both behind and beside a commode so that I can

      safely transfer and I have difficulty reaching the flush control if it is on the wrong

      side. I have difficulty getting through doorways if they lack the proper clearance.

      To use a pool, I require a lift or other accessible means. When sleeping in a guest

      room, I need a compliant tub or shower with required grab bars and a shower seat.

2.    When looking at a hotel online reservation system, I need information so that I

      can ascertain whether or not the hotel and its guest rooms are accessible to me.

      This includes information whether the conditions referenced above are compliant.

3.    In the past, I have observed that the vast majority of hotel online reservations

      systems do not allow for booking of accessible rooms or provide the information I

      need to make an informed choice. I have also booked a room at hotels whose

      websites claim they are “accessible”, only to find that this claim is untrue.

      Therefore, I cannot make plans to travel if I intend to stay in an accessible room at

      an accessible hotel. The failure of so many hotels to comply with the law in this

      regard deter me from making travel plans. Therefore, I am an advocate on behalf

      of both myself and other similarly situated disabled persons and consider myself a

      tester. As a tester, I visit hotel online reservations systems to ascertain whether

      they are in compliance with the Americans With Disabilities Act. In the event that

      they are not, I request that a law suit be filed to bring the website into compliance

      with the ADA so that I and other disabled persons can use it. If a law suit is filed

      to bring the website into compliance, I frequently revisit the website to ascertain

      whether or not it has been made accessible with the information required by law.


                                         2
Case: 3:20-cv-00616-wmc Document #: 6-1 Filed: 09/11/20 Page 3 of 5




      With respect to each law suit I file, I subsequently revisit each website because

      that is my system.

5.    I have plans to travel to Wisconsin as soon as the Covid crisis is over and it is safe

      to travel. I intend to travel all throughout the State and I need to stay in hotels

      when I go. Because so many hotel websites fail to allow for booking of accessible

      rooms and fail to provide sufficient information about whether or not the hotels’

      features are accessible, it makes it extremely difficult for me to make any

      meaningful choice because I am deprived of the information I need to compare

      hotels, assess their accessible features and make my plans.

6.    With respect to each hotel for which I filed a lawsuit in Wisconsin, I reviewed its

      online reservations system multiple times prior to filing each respective lawsuit. I

      visited the online reservation system for each hotel for the purpose of reviewing

      and assessing the accessible features at the hotel and ascertain whether the

      websites contain the information required by 28 C.F.R. Section 36.302(e) and

      adequately informs me as to whether the hotel meets my accessibility needs. I was

      in my own home in Pasco County when I visited these websites. However, I was

      unable to do so because none of the hotels’ online reservations systems comply

      with the requirements set forth in 28 C.F.R. Section 36.302(e). As a result, I was

      deprived the same services available to the general public. The websites do not

      identify any accessible rooms, provide for booking of accessible rooms or contain

      sufficient information as to whether any rooms or features at the hotel are

      accessible.


                                         3
Case: 3:20-cv-00616-wmc Document #: 6-1 Filed: 09/11/20 Page 4 of 5




7.    When I encountered the above conditions, I suffered humiliation and frustration at

      being treated like a second class citizen, being denied equal access and benefits to

      the goods, facilities, accommodations and services. I am deterred from returning

      to the websites because I understand that it would be a futile gesture to do so

      unless I am willing to suffer further discrimination. I am aware that defendant

      segregates against me and other disabled persons by offering them one service: me

      a lesser service. I am aware that I am being deprived the equality of opportunity

      afforded to non-disabled persons to utilize the online reservation system free of

      discrimination. I am also aware that my ability to travel free of discrimination and

      with equal access to information offered to the general public is diminished.

      Failure of the hotel to have a compliant reservations system impedes my ability to

      make a meaningful choice in planning my trip.

8.    Despite the above, I plan to again review the websites in the near future. I have a

      system whereby I always revisit the websites of every hotel I sued. In this regard,

      I maintain a list of each hotel I have sued. I constantly go through this list and add

      to it. With respect to each hotel I sue, I shortly thereafter revisit the hotel’s online

      reservations system. When a suit is filed, I mark my calendar for 30 days

      afterward, then revisit the hotel’s reservations system at that time. Once a case is

      settled, I mark the date on my list when the defendant has agreed to fix its

      websites. When that date arrives, I revisit it again and record my visits. Thus, I

      revisit each hotel’s online reservations system at least two times after a lawsuit is

      filed.


                                         4
       Case: 3:20-cv-00616-wmc Document #: 6-1 Filed: 09/11/20 Page 5 of 5




Pursuant to 28 U.S.C. Section 1746, I declare, certify, verify, and state, under penalty of perjury

that the foregoing is true and correct.

      9.9.20
Date: _________                               __________________________________
                                                      DEBORAH LAUFER




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